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DEC | l 2017
FAIRNESS HEARING

 

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, So\nhemoismctofwea!m ‘

 

 

“Notice of Intention to Appear in Good v. We'st Vz'rginz`a-Amerz‘can Wal‘er Company, NO.
2114-cv-01374.”

Janet L Thompson

1326 Elmwoc)d Avenue
Charleston, West Virginia 25301
304-881~7088

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Janet L Thompson

Dated: December 7 , 2017

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To: 'fhe Honorable Judge Copenhaver, Jr. and The Class Settlement Counsel
From: Janet L Thoinpson

Date: Novernber 16-201'7

Subj ect: A simple proposal to extend the current outreach efforts, to contact the “hard to

reach”, via non conventional means

Purpose
IWrite this letter to propose a solution/ services to What l see is a potential shortfall,
regarding the current Water Settlernent outreach efforts, to reach/contact all persons

effected by the Freedorn Cheinical Spill.

Background

l\/lany persons Who Were effected by the January 13, 2013 spill, rnay now be homeless;
under bridges-in abandoned buildings, in alcohol-drug facilities or currently on alcohol-
drugs, in nursing-mental homes, or are now out of the country or deceased*, or simply

cannot understand or Write to fill out the forms on their oWn.
Therefore, mailings, television~newspaper ads, etc., Will not suffice to reach these persons
and fall short in fulfilling the Honorable Court and the Class Counsels goal to assure that

all persons are compensated

Our proposed solutions to this problem, in reaching those persons (probably most in need

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of their payments), is as follows:

1- The placement of two 4 X 10 banners on the side and front of 1501 Washington Street

West, Charleston, Kanawha, West Virginia.

This building is located in a high traffic area and on a well traveled pedestrian street.

An area-street were many of the persons are homeless and involved with drugs and

prostitutionl

This building is already known as the storefront for free cell phones, copying, notary

services.+

Because it is sought out and visited for the above services. . . .The addition of the
availability/assistance with the water claim forms will be a natural draw ...... for those
persons we seek to reach;

2-We will go under the bridges, into the drug houses. . ...onto the corners; and

3- We will also set up tent/tables-chairs, outdoors in key areas, to further handout/assist in

filling out the claim forms.

Costs Please, see attached sheet

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Conclusion/Possibilities

C)ur Outreach proposal is unique in that they are already looking for us and we are

basically going out. . . ..“finding them. . ..the hard to reaeh. . . .in hard places

By utilizing our proposal/us . . .it will further show the public that the Court/ Settlement

Team are sincere in the desire to compensate each and every person effected by the water.

()ur proposal also builds goodwill and social capital ...... and is a down to earth idea,

which can be utilized in all effected counties,.,by many un budgeted non profits.

Thank you for your consideration of our unconventional and unique efforts, that will

reach the unreachable. . . ..looking forward. .

sincere §<_\12~7+2/\:1 7

Janet L Thompson

Dated November 16-2K17

Ps: have ran this idea past many diverse persons ..... it’s a winner

